USCA11 Case: 22-13837   Document: 48-1      Date Filed: 08/21/2024   Page: 1 of 5




                                                  [DO NOT PUBLISH]
                                   In the
                United States Court of Appeals
                        For the Eleventh Circuit

                         ____________________

                              No. 22-13837
                         Non-Argument Calendar
                         ____________________

       JANICE DENISE BAKER,
                                                     Plaintiﬀ-Appellant,
       versus
       RESNICK &amp; LEWIS, P.C.,
       MACY'S FLORIDA STORES,
       BRIAN L. HARVELL ESQ,
       ROBERT J. SQUIRRE ESQ,
       BRYAN BOYSAW ESQ, et al.,


                                                 Defendants-Appellees.


                         ____________________
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       2                      Opinion of the Court                  22-13837

                  Appeal from the United States District Court
                      for the Southern District of Florida
                     D.C. Docket No. 9:22-cv-81257-AMC
                           ____________________

       Before WILSON, LUCK, and MARCUS, Circuit Judges.
       PER CURIAM:
               Janice Baker, proceeding pro se, appeals the sua sponte dismis-
       sal of her 42 U.S.C. § 1983 complaint for failure to state a claim un-
       der 28 U.S.C. § 1915(e)(2)(B)(ii). On appeal, she argues that: (1) the
       defendants committed professional misconduct and violated her
       disability rights; (2) the district court erred in denying her right to
       pursue her claim in forma pauperis (“IFP”); and (3) the state court
       wrongly decided her case. After careful review, we affirm.
               Section 1915(e) provides that an in forma pauperis action or
       appeal shall be dismissed at any time if the court determines that it
       fails to state a claim for which relief may be granted. 28 U.S.C.
       § 1915(e)(2)(B)(ii). We review de novo a district court’s sua sponte
       dismissal for failure to state a claim pursuant to § 1915(e)(2)(B)(ii),
       using the same standards that govern Fed. R. Civ. P. 12(b)(6) dismis-
       sals. Mitchell v. Farcass, 112 F.3d 1483, 1489–90 (11th Cir. 1997). To
       survive a Rule 12(b)(6) motion to dismiss, a complaint must allege
       suﬃcient facts to state a claim that is plausible on its face. Ashcroft
       v. Iqbal, 556 U.S. 662, 678 (2009). “[C]onclusory allegations, unwar-
       ranted deductions of facts or legal conclusions masquerading as
       facts will not prevent dismissal.” Jackson v. BellSouth Telecomms., 372
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       22-13837                Opinion of the Court                            3

       F.3d 1250, 1262 (11th Cir. 2004) (quotations omitted). To prevail on
       a civil rights action under 42 U.S.C. § 1983, a plaintiﬀ must establish
       that she was deprived of a federal right by a person acting under
       color of state law. West v. Atkins, 487 U.S. 42, 48 (1988).
               We hold pro se pleadings to a less stringent standard and lib-
       erally construe them. Campbell v. Air Jam., Ltd., 760 F.3d 1165, 1168
       (11th Cir. 2014). However, that “leniency does not give a court li-
       cense to serve as de facto counsel for a party, or to rewrite an other-
       wise deﬁcient pleading in order to sustain an action.” Id. at 1168–
       69 (quotations omitted). An appellant abandons an issue by failing
       to challenge it on appeal. See Irwin v. Hawk, 40 F.3d 347, 347 n.1
       (11th Cir. 1994) (involving a pro se litigant). An appellant also aban-
       dons a claim where she presents it only in “passing references” or
       “in a perfunctory manner without supporting arguments and au-
       thority.” Sapuppo v. Allstate Floridian Ins. Co., 739 F.3d 678, 681 (11th
       Cir. 2014). “[S]imply stating that an issue exists, without further
       argument or discussion, constitutes abandonment of that issue and
       precludes our considering the issue on appeal.” Id. (quoting Singh
       v. U.S. Att’y Gen., 561 F.3d 1275, 1278 (11th Cir. 2009)). We may
       exercise our discretion to consider a forfeited issue if: “(1) the issue
       involves a pure question of law and refusal to consider it would
       result in a miscarriage of justice; (2) the party lacked an oppor-
       tunity to raise the issue at the district court level; (3) the interest of
       substantial justice is at stake; (4) the proper resolution is beyond
       any doubt; or (5) the issue presents signiﬁcant questions of general
       impact or of great public concern.” United States v. Campbell, 26
       F.4th 860, 873 (11th Cir. 2022) (en banc).
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       4                       Opinion of the Court                  22-13837

              Additionally, we generally lack jurisdiction to directly re-
       view state court judgments, as “federal courts are not a forum for
       appealing state court decisions.” Staley v. Ledbetter, 837 F.2d 1016,
       1018 (11th Cir. 1988); Vasquez v. YII Shipping Co., 692 F.3d 1192,
       1195 (11th Cir. 2012) (“[F]ederal courts below the Supreme Court
       must not become a court of appeals for state court decisions.”).
               Here, Baker has abandoned any challenge to the district
       court’s dismissal of her case, because, even when construing her
       brief liberally, Baker failed to properly challenge the district court’s
       dismissal of her case. See Campbell, 760 F.3d at 1168–69; Irwin, 40
       F.3d at 347 n.1; Sapuppo, 739 F.3d at 681. Rather than argue that 28
       U.S.C. § 1915(e)(2)(B)(ii) did not apply to her, Baker repeated her
       theory that she was wronged by the defendants without a support-
       ing factual basis. Notably, these minimal and undeveloped allega-
       tions do not establish how 42 U.S.C. § 1983 applied to her. See West,
       487 U.S. at 48. As a result, Baker only provided conclusory allega-
       tions and failed to allege sufficient facts to state a plausible claim,
       and it was not error for the district court to dismiss her complaint
       under 28 U.S.C. § 1915(e)(2)(B)(ii). See Mitchell, 112 F.3d at 1489–
       90; Iqbal, 556 U.S at 678; Jackson, 372 F.3d at 1262. Nor do any of
       the exceptions that may allow us to consider a forfeited issue apply
       to Baker’s appeal. See Campbell, 26 F.4th at 873.
              In short, Baker has abandoned any challenge to the district
       court’s dismissal of her complaint. See Irwin, 40 F.3d at 347 n.1;
       Sapuppo, 739 F.3d at 681. Moreover, to the extent she challenges
       the findings from her state court case, we lack jurisdiction to hear
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       22-13837               Opinion of the Court                        5

       an appeal from that court. See Staley, 837 F.2d at 1018; Vasquez, 692
       F.3d at 1195. Accordingly, we affirm the district court’s dismissal
       of Baker’s claim and the denial of IFP. See Mitchell, 112 F.3d at
       1489–90; Iqbal, 556 U.S at 678; Jackson, 372 F.3d at 1262.
             AFFIRMED.
